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                      IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT

                                 _________________________

                                      No. 20-12003-AA
                                 _________________________


KELVIN LEON JONES,
BONNIE RAYSOR,
DIANE SHERRILL,
Individually and on behalf of others similarly
situated,
JEFF GRUVER,
EMORY MARQUIS MITCHELL,
MARQ, et al.,

                                                          Plaintiffs - Appellees,

ROSEMARY MCCOY,
SHEILA SINGLETON,

                                                          Plaintiffs - Appellees - Cross - Appellants,

                                                 versus

GOVERNOR OF FLORIDA,
FLORIDA SECRETARY OF STATE,

                                                          Defendants - Appellants - Cross Appellees,

                                __________________________

                                On Appeal from the United States
                        District Court for the Northern District of Florida
                                 __________________________


Before WILLIAM PRYOR, Chief Judge, WILSON, MARTIN, JORDAN, JILL PRYOR,
NEWSOM, BRANCH, GRANT, LUCK, and LAGOA, Circuit Judges.*


BY THE COURT:

    *
      Judge Rosenbaum and Judge Brasher have recused themselves from this case and did not
participate in the consideration or decision of the motion for clarification.
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       The motion of Plaintiffs-Appellees for clarification of the order granting a stay is

GRANTED IN PART with respect to the claim under the National Voter Registration Act. Our

order granting a stay of the permanent injunction pending appeal does not extend to the district

court’s ruling or injunctive relief regarding the noncompliant registration form under the Act. In

all other respects, the stay remains in place.
